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                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

    SAMANTHA RING,

               Plaintiff,

    v.                                                                Case No.: 8:19-cv-00772-VMC-JSS

    BOCA CIEGA YACHT CLUB, INC.,

          Defendant.
    ___________________________________/

            DEFENDANT’S DAUBERT MOTION TO EXCLUDE TESTIMONY FROM
           PLAINTIFF’S EXPERTS, ANDRES SANTAYANA, M.D. AND DAWN SCHEU

               In accordance with Local Rule 3.01 and this Court’s Second Amended Case

    Management and Scheduling Order entered on December 4, 2019 [Dkt. 87], Defendant, Boca

    Ciega Yacht Club, Inc. (“BCYC” or “Defendant”), respectfully moves this Court to exclude

    Plaintiff’s, Samantha Ring (“Ms. Ring” or “Plaintiff”), designated experts as follows:

           1. Plaintiff designated Andres Santayana, M.D. and Dawn Scheu, dog trainer, in the
              expert disclosure portion of its Amended Rule 26(a)(2(A) Disclosures.1 Dr. Santayana
              and Ms. Scheu are required to prepare an expert report under Federal Rule of Civil
              Procedure 26(a)(2)(B), which they failed to do.

           2. Even if this Court finds that Dr. Santayana or Ms. Scheu were not required to prepare
              an expert report, Plaintiff’s expert disclosures are wholly insufficient under Federal
              Rule of Civil Procedure 26(a)(2)(C).

           3. The opinions of Dr. Santayana and Ms. Scheu are also unreliable under the
              admissibility standards set forth in Daubert v. Merrell Dow Pharmaceuticals, 509 U.S.
              579 (1993).




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        Plaintiff’s Amended Rule 26(a)(2)(A) Disclosures are filed with this Motion as Exhibit A.
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          A. BACKGROUND

               Plaintiff was a former member of Defendant, which is a private yacht or sail club

    located in Gulfport, Florida. The club is a non-profit organization that exists through the efforts

    of volunteers who are members of the club and enjoy sailing. The club was established in

    1965.

               Plaintiff’s membership was from 2007-2019. On April 19, 2019, the Defendant’s

    general membership voted overwhelmingly (almost 70%) to expel Ms. Ring as a member of

    their private club based on the following: she continued to live on her boat despite multiple

    warnings and demands not to do so as it violated Defendant’s Bylaws and lease to live on a

    boat at the slip; she provided the club false local land-based addresses that enabled her to get

    a discounted rate for her boat slip which is reserved only for local residents; she used electricity

    outlets for her boat without permission of the City of Gulfport; and her actions caused discord

    among club members depriving them their right to fully enjoy their membership at the private

    club and causing the club problems with the City of Gulfport.

               Ms. Ring brought the instant lawsuit against Defendant alleging failure to make

    accommodations under the Americans with Disabilities Act (“ADA”), retaliation under the

    ADA and discrimination under the Florida Civil Rights Act (“FCRA”). The allegations are

    related to claims that Defendant discriminated and retaliated against her in 2018 and 2019,

    relating to her alleged disabilities and her service animal, a dog named Piper.2




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        Third Amended Complaint filed on December 16, 2019. [Dkt. 100].
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           B. TESTIMONY OF ANDRES SANTAYANA, M.D., ON DECEMBER 4, 2019

               Plaintiff states in her Amended Rule 26(a)(2(A) Disclosures that Dr. Santayana will

    testify about Plaintiff’s mental health and anaphylactic allergies and severe anxiety; limitation

    on major life activities; how the service dog, Piper, helps her conditions; that his professional

    opinion is that Piper assists with coping with her anxiety; and Plaintiff’s use of an Epi-pen

    during an incident on November 2019.                             Based on his deposition testimony below, Dr.

    Santayana’s testimony about the topics outlined in the expert disclosures should be excluded.

           1. As of the date of his deposition, December 4, 2019, Dr. Santayana is in his third year

               of residency, in family medicine, for Bayfront Health. (Santayana Depo. p. 6, lines 13-

               20).3 He graduated from USF Medical School in 2017. (Santayana Depo., p. 7, lines

               12-17). He completed the USMLE board exam, and at least one year of residency, so

               he is licensed to practice medicine in Florida. (Santayana Depo. p.7, lines 23-25, p. 8,

               1-12). As a medical resident, he has not practiced medicine outside of the residency

               setting. (Santayana Depo. p. 16, lines 7-23). He has never had any training on how to

               conduct a functional assessment limitation on an individual. (Santayana Depo., p. 10,

               lines 9-12).

           2. Dr. Santayana met Plaintiff for the first time on July 16, 2018, when she requested a

               note supporting the use of a service animal. (Santayana Depo., p. 20, lines 4-16, p. 34,

               lines 10-15). He does not recall if she disclosed to him when the last time was that she

               was exposed to any allergens, or items she was allergic to. (Santayana Depo., p. 21,




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        Cited pages of Dr. Santayana’s deposition testimony are submitted as Exhibit B to this Motion.
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          lines 4-8). He does not remember ever speaking to Plaintiff’s primary care physician.

          (Santayana Depo., p. 24, lines 4-7).

       3. On Plaintiff’s first visit with Dr. Santayana on July 16, 2018, he signed a note for

          Plaintiff as a medical resident, which says in part that he supports “Samantha’s decision

          to have her service animal accompany her at all times.” (Santayana Depo., p. 34, lines

          10-15, and Exhibit 3 to Santayana Depo.).

       4. Plaintiff asked Dr. Santayana to write the note and provided him specific direction

          about what to put in the note about the service animal. (Santayana Depo., p. 35, lines

          17-25).

       5. Dr. Santayana testified that his note stating that he supports her decision to have her

          service animal accompany her at all times is not a medical prescription. (Santayana

          Depo., p. 40, 11-13).

       6. Dr. Santayana does not know the difference between a therapy animal and a service

          animal. (Santayana Depo., p. 36, lines 1-5).

       7. Dr. Santayana does not recall any major life activities that Plaintiff has trouble doing.

          (Santayana Depo, p. 39, 17-24).

       8. At the time of his deposition on December 4, 2019, Dr. Santayana did not know that

          Ms. Ring did not bring her dog with her to work as a full-time teacher. (Santayana,

          Depo. p. 40, lines 5-10).

       9. Dr. Santayana does not recall how her dog mitigated her anxiety. (Santayana Depo., p.

          40, lines 15-22).



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       10. Dr. Santayana does not recall discussing this note with any of the actual teaching

          physicians at his residency clinic, and he does not recall any of them talking to him

          about the note. (Santayana Depo., p. 41, lines 1-14).

       11. When asked if Ms. Ring is a person with a disability, Dr. Santayana testified “I don’t

          know if I can answer that accurately.” (Santayana Depo., p. 41, lines 16-19).

       12. Dr. Santayana is not aware of any limitations Ms. Ring has on her ability to work.

          (Santayana Depo., p. 42, lines 17-19).

       13. The nurse at Dr. Santayana’s residency clinic who did the intake on Ms. Ring did not

          note any limitations on any major life activities such as bathing, dressing, walking,

          climbing stairs, concentrating, thinking, hearing, remembering, making decisions,

          doing errands alone. (Santayana Depo. p. 21, lines 16-25, p. 22, lines 1-6, p. 43, lines

          19-25).

       14. On March 13, 2019, Ms. Ring called the clinic by phone to ask for a new note with

          some change to the original note. Dr. Santayana did not actually see her that day. He

          did sign a new note, once again as a medical resident. Nobody else co-signed it with

          him. (Santayana Depo., p. 53, lines 16-20, p. 55, lines 12-25, Exhibit 8 to Santayana

          deposition).

       15. Ms. Ring asked him to change the note because she told him that it needed to have

          more specific verbiage (Santayana Depo, p. 53, line 25, p. 54, line 2, p.55, lines12-25).

          The main change to the new note was that it included language regarding limited

          abilities due to anxiety and allergies. (Santayana Depo., p. 54, lines 13-22).



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          16. Dr. Santayana is not aware of Ms. Ring having any limits on any specific activities

               other than her need to always be cognizant of exposure to allergens and her anxiety

               associated with them. The precautions for this are to avoid exposure to the allergens.

               (Santayana Depo., p. 70, 2-23).

          17. Dr. Santayana is not aware how her anxiety stops her from doing anything that any

               regular person can go out and do, and Ms. Ring never told him anything she can’t do

               in her life. (Santayana Depo., p. 76, lines 15-23).

          C. TESTIMONY OF DAWN SCHEU ON JANUARY 2, 2020

               Plaintiff does not give specifics in her Amended Rule 26(a)(2(A) Disclosures

    (“Disclosures”) about what exactly dog trainer Dawn Scheu will testify about. Plaintiff does

    state in the Disclosures that Ms. Scheu has trained the team of Piper and Plaintiff since 2016;

    however, at her deposition on January 2, 2020, Ms. Scheu testified that her first training session

    with Plaintiff’s dog was on April 27, 2019. (Scheu Depo., p. 5, lines 8-13).4 This is after the

    relevant events in this litigation. Ms. Scheu’s additional deposition testimony below also

    supports the exclusion of her testimony.

          1. Ms. Scheu’s job is to train service dogs specializing in gluten and allergens detection,

               and she also does task training. (Scheu Depo., p. 5, lines 14-19). She has been doing

               this for six years. (Scheu Depo., p. 6, lines 12-18).

          2. The first training session with Plaintiff’s dog was April 27, 2019. (Scheu Depo., p. 5,

               lines 8-13).




    4   Cited pages of Ms. Scheu’s deposition testimony are submitted as Exhibit C to this Motion.
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       3. Ms. Scheu is located in Michigan. Ms. Scheu has never met Ms. Ring or her dog Piper

          in person. Her sessions are conducted remotely on a video-based platform. (Scheu

          Depo. p. 1, lines 9-11, p. 9, lines 2-7).

       4. Plaintiff is training her dog Piper for sunflower detection, to detect sunflower seeds so

          she does not have an allergic reaction to sunflowers. (Scheu Depo., p. 7, lines 21-23, p.

          36, lines 21-24).

       5. Plaintiff and Piper have not graduated from the training program yet and are still in the

          program. (Scheu Depo., p. 30, lines 1-5).

       6. Piper has still not taken the gluten, allergen (odor) test for service animals. When Piper

          is ready to take the test, Ms. Scheu will tell Plaintiff. (Scheu Depo., p. 22, lines 9-25,

          p. 32, lines 1-15).

       7. Ms. Scheu testified that dog training is an unregulated field. (Scheu Depo., p. 31, lines

          20-22).

       8. Ms. Scheu has never testified in federal or state court in the capacity of a dog trainer.

          (Scheu Depo., p. 20, lines 19-21).

       9. Ms. Scheu is not a doctor or lawyer. She was previously a paramedic, but her

          certification and license expired. (Scheu Depo., p. 39, 13-18). Despite this, her

          deposition is filled with her opinion testimony regarding Plaintiff’s medical need for

          Piper, and how Piper would assist Ms. Ring’s medical conditions. (Scheu Depo, p. 36,

          lines 1-14). Her deposition also contains her opinions on the definition of service

          animal under ADA, and whether Piper is permitted under the ADA. (Scheu Depo., p.

          32, lines 16-18, p. 35, 18-15, p. 37, lines 20-25).

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       D. ARGUMENT

           Standard

           “[W]hen a treating physician’s testimony is based on a hypothesis, not the experience

    of treating the patient, it crosses the line from lay to expert testimony, and must comply with

    the requirements of Rule 702 and the strictures of Daubert.” Williams v. Mast Biosurgery USA,

    Inc., 644 F. 3d 1312, 1317-18 (11th Cir. 2011). Indeed, “the ability to answer hypothetical

    questions is the ‘essential difference’ between lay and expert testimony.” United States v.

    Henderson, 409 F. 2d 1293, 1300 (11th Cir. 2005) (quotation omitted).

           A witness who is qualified as an expert by knowledge, skill, experience, training, or
           education may testify in the form of an opinion or otherwise if:

           (a) the expert’s scientific, technical, or other specialized knowledge will help the trier
           of fact to understand the evidence or to determine a fact in issue;

           (b) the testimony is based on sufficient facts or data;

           (c) the testimony is the product of reliable principles and methods; and

           (d) the expert has reliably applied the principles and methods to the facts of the case.

           Fed. R. Evid. 702.

           In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), the United

    States Supreme Court charged judges with ensuring that “any and all scientific testimony and

    evidence admitted is not only relevant, but reliable.” Id. at 590. To conduct this evidentiary

    gatekeeping inquiry, the Supreme Court identified the expert’s principles and methodology

    rather than their conclusions as the focus of the analysis, and enunciated four cornerstone

    factors for courts to consider:



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           a) Whether the expert’s technique or theory can be tested;

           b) Whether it has been subjected to peer review or publication;

           c) Whether the technique has a known or potential rate of error;

           d) Whether the theory has attained general acceptance in the relevant scientific
              community.

           Id. at 593-94.

           “Given that testifying experts offer evidence in court, the opposite side must have the

    opportunity to challenge the opinions of a testifying expert, including how and why the expert

    formed a particular opinion.” Republic of Ecuador v. Hinchee, 741 F. 3d 1185, 1192 (11th Cir.

    2013). Under Federal Rule of Civil Procedure 26, all materials considered by testifying experts

    in forming their opinions for trial are generally discoverable, though some protection is

    afforded to communications between a party’s retained experts and her attorney. Fed. R. Civ.

    P. 26 (b)(2)(A), (b)(4)(C). This limited protection does not extend to non-retained experts who

    do not need to prepare expert reports under Rule 26(b)(2)(A).

           Summary of Argument

           Plaintiff designated Dr. Santayana and Ms. Scheu in its expert disclosures, thus they

    were required to prepare expert reports under Federal Rule of Civil Procedure 26(a)(2)(B).

    Accordingly, this Court should exclude their expert testimony at trial under Federal Rule of

    Civil Procedure 37(c)(1).

           Further, even if this Court accepts that Dr. Santayana and Ms. Scheu are fact witnesses

    and not experts, Plaintiff’s Disclosures about what they will testify about are insufficient, they

    are not qualified or able to give the testimony about the subject matter which Plaintiff says


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     they will testify about, and some of their potential testimony is irrelevant, such as testimony

     about events taking place after the relevant allegations in this lawsuit.

             “If a party fails to provide information . . . as required by [Rule(a)(2)(B)], the party is

     not allowed to use that information or witness to supply evidence on a motion, at a hearing, or

     at trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

     This Court has broad discretion in making this determination. See United States ex rel. Bane

     v. Breathe Easy Pulmonary Servs., Inc., No. 8:06-cv-40-T-33MAP, 2009 U.S. Dist. LEXIS

     4567 (M.D. Fla. Jan. 14, 2009). The inquiry turns upon the following factors: “(1) The surprise

     to the party against whom the evidence would be offered; (2) the ability of that party to cure

     the surprise; (3) the extent to which allowing the evidence would disrupt the trial; (4) the

     importance of the evidence; and (5) the nondisclosing party’s explanation for its failure to

     disclose the evidence.” Id.

        1) Plaintiff’s Expert Disclosures under Rule 26(a)(2)(C) are insufficient

            Federal Rule of Civil Procedure 26 (a)(2)(C), which mandates that Plaintiff provide

     “the subject matter on which [Dr. Santayana and Ms. Scheu] will testify, as well as a summary

     of the facts and opinions to which [they] are expected to testify.” Fed. R. Civ. P. 26 (a)(2)(C).

            Turning to Plaintiff’s Expert Disclosures, Plaintiff only provided a generic summary of

     the topics on which Dr. Santayana and Ms. Scheu would testify and referred Defendant to their

     medical records. See Exhibit B, pp. 1-3. Under Rule 26(a)(2)(C), this is insufficient. See, e.g.,

     Blakely v. Safeco Ins. Co. of Ill., No. 6:13-cv-796-Orl-37TBS, 2014 U.S. Dist. LEXIS 36720;

     Cruz v. United States, No. 12-21518-CIV-MORENO, 2013 U.S. Dist. LEXIS 8538 at *5 (S.

     D. Fla. Jan. 22, 2013).

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        2) Excluding testimony at trial under Daubert

            In addition to the four factors enunciated by the Supreme Court in Daubert, the

     advisory committee notes to Federal Rule of Evidence 702 identify the five factors below as

     helpful in conducting the Daubert gatekeeping inquiry:

            (1) Whether the expert is proposing to testify about matters growing naturally and
            directly out of research he has conducted independent of the litigation, or whether he
            has developed his opinion expressly for purposes of testifying;

            (2) Whether the expert has unjustifiably extrapolated from an accepted premise to an
            unfounded conclusion;

            (3) Whether the expert has adequately accounted for obvious alternative explanations;

            (4) Whether the expert is being as careful as he would be in his regular professional
            work outside his paid litigation consulting;

            (5) Whether the field of expertise claimed by the expert is known to reach reliable
            results for the type of opinion the expert would give.

            Fed. R. Evid. 702, advisory committee's note (2000 amends.).

            The crux of the Daubert inquiry is whether the testimonial evidence that Dr. Santayana

     and Ms. Scheu are expected to provide at trial is sound and reliable enough for the jury to

     weigh. See Quiet Tech. DC-8, Inc. v. Hurel-Dubois UK, Ltd., 326 F.3d 1333, 1341 (11th Cir.

     2003). When “[a] court may conclude that there is simply too great an analytical gap between

     the data and the opinion proffered,” the expert testimony should be excluded during the

     Daubert inquiry. GE v. Joiner, 522 U.S. 136, 147 (1997). Likewise, “expert testimony

     generally will not help the trier of fact when it offers nothing more than what lawyers for the

     parties can argue in closing arguments.” United States v. Frazier, 387 F.3d 1244, 1260 (11th

     Cir. 2004).


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              Turning to Dr. Santayana, “[he] cannot satisfy any of the Daubert factors: Plaintiff has

     not demonstrated that his potential opinions about the necessity of service animal or what that

     service animal will do are testable; he has not offered any error rate for his opinions; he has

     not shown any evidence that his opinions have been peer reviewed or that he used a peer-

     reviewed source to reach his opinions; and, finally, he has not shown the general acceptance

     of his opinions. Consequently, his opinions fail all four of the Daubert factors.” Bowers, 537

     F. Supp. 2d at 1354 (M.D. Ga. 2007).

              Dr. Santayana’s evaluation is far too vague to be helpful to the trier of fact. Indeed, “it

     appears from [this] record that he simply followed Plaintiff's instructions for what to put in a

     medical note for her service animal, and he took her word for what happened and adopted that

     explanation as his own opinion on causation.” Bowers, 537 F. Supp. 2d at 1357 (M.D. Ga.

     2007).

              As the Bowers Court emphasized:

              Such vague and imprecise opinions are often excluded by trial courts and their
              exclusion is regularly affirmed by the Eleventh Circuit. E.g., McDowell v. Brown, 392
              F.3d 1283, 1299, 1301 (11th Cir. 2004) (characterizing expert's testimony as “too
              vague” and noting that”[a] mere guess that earlier treatment would either have
              improved [the plaintiff's] condition or rendered it the same simply fails the tests for
              expert opinion”); Frazier, 387 F.3d at 1266 (characterizing the expert's testimony as
              “imprecise” and “unspecific,” and noting that, in light of such imprecision, the jury
              “could not readily determine whether the 'expectation' [alluded to by the expert] was a
              virtual certainty, a strong probability, a possibility more likely than not, or perhaps even
              just a possibility”). Not only do such opinions lack reliability, they also fail to assist
              the trier of fact in any meaningful way. See McDowell, 392 F.3d at 1299; Frazier, 387
              F.3d at 1266. This failure provides an additional reason for their exclusion.

              Bowers, 537 F. Supp. 2d at 1355 (M.D. Ga. 2007) (emphasis added).




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            “Nothing in either Daubert or the Federal Rules of Evidence requires a district court to

     admit opinion evidence which is connected to existing data only by the ipse dixit of the expert.”

     Cook ex. rel. Estate of Tessier v. Sheriff of Monroe County, 402 F. 3d 1092, 1113 (11th Cir.

     2005). Here, Dr. Santayana asserted an opinion without using reliable methodology or

     consulting any outside sources, including but not limited to failing to speak with Plaintiff’s

     physician or citing an authority upon which his opinions rely, to ensure that it was well

     founded. If he is allowed to testify at trial, jurors will simply be asked to believe what he tells

     them about Plaintiff and her alleged need for a service animal, in the absence of any indicia of

     reliability. Under Daubert and Federal Rule of Evidence 702, such a result cannot stand.

            Additionally, as a medical resident, Dr. Santayana does not practice medicine outside

     of the residency independently and instead is under the supervision of teaching physicians. His

     deposition testimony already conducted does not support any basis for him to opine as to the

     medical necessity of Plaintiff’s service animal, Plaintiff’s alleged disabilities and what a

     service animal would allegedly do to help Plaintiff.

            Turning to Ms. Scheu, Plaintiff has produced no qualifications that would support her

     testifying at trial as an expert. Instead, dog training is an unregulated field, according to Ms.

     Scheu’s testimony, and she has provided no basis for her opinion testimony about: 1) legal

     definition of disability or service animal; 2) Plaintiff’s medical conditions or need for service

     animal; 3) description of what the service animal can do to help those conditions of Plaintiff;

     4) training necessary to become a service animal; and 5) medical diagnosis of condition for

     which service animal is prescribed. Additionally, the relevant events in this lawsuit all occurred

     before Ms. Scheu first started training Plaintiff’s dog Piper on April 27, 2019, so her fact

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     witness testimony about this training is irrelevant to the issues in this case that all occurred

     before April 27, 2019.

        E. CONCLUSION

            WHEREFORE, Defendant requests that the Court exclude the testimony of Dr.

     Santayana and Ms. Scheu, and grant such further relief as the Court deems appropriate.

                                    LOCAL RULE 3.01(g) CERTIFICATE

            Undersigned counsel conferred with opposing counsel for Plaintiff, and Plaintiff

     opposes this Motion.




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                                             CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 17th day of January, 2020, I filed a true and correct

     copy of the foregoing document using the ECF/CM system, which will provide notification to

     the following: Ms. Marcy I. LaHart, Esq., c/o Marcy I. LaHart, P.A., 207 S.E. Tuscawilla Rd.,

     Minacopy,       FL          32667,           (352)          545-7001              (T),         (888)          400-1464     (F),

     marcy@floridaanimallawyer.com; and Ms. Denese Venza, c/o Venza Law, PLLC, 931 Village

     Blvd.,     #905-322,         West         Palm          Beach,          FL        33409,          (561)         596-6329   (T),

     dvenza@venzalawpllc.com.

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